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From: Hurlburt, David <DHurlburt@hearst.com>
Date: Wed, Oct 3, 2018 at 4:08 AM
Subject: October 30 Debate Criteria
To: shiva@shiva4senate.com <shiva@shiva4senate.com>


Dear Mr. Ayyadurai:

I have attached the criteria for participation in the U.S. Senate Debate planned for Tuesday, October 30,
2018, at the WCVB studios in Needham.

Please confirm that you have received them, and feel free to contact me with any questions.

Best,
David Hurlburt

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